         Case 3:19-cv-00382-KGB Document 26 Filed 09/28/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

EARNEST RAY MACK                                                                      PLAINTIFF
ADC #129856

v.                             Case No. 3:19-cv-00382-KGB-JTR

WARD, Sergeant, NCU, et al.                                                       DEFENDANTS

                                          JUDGMENT

       Pursuant to the Order entered this date, it is considered, ordered, and adjudged that plaintiff

Earnest Ray Mack’s complaint is dismissed without prejudice. The relief requested is denied.

       So adjudged this 28th day of September, 2020.




                                                      Kristine G. Baker
                                                      United States District Judge
